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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

     DIANNE DORMAN

          Plaintiff,

     v.                                           No. 4:24-cv-00024-P

     DEUTSCHE BANK NATIONAL
     TRUST COMPANY, ET AL.

          Defendants.

                                  ORDER
       Before the Court is Mark Stephen Burke’s Motion to Reconsider and
    Allow Additional Briefing, or in the Alternative, Extension of Time to
    Respond. ECF No. 28. Having considered the Motion, the Court
    concludes that the Motion should be and is hereby DENIED.
       SO ORDERED on this 29th day of April 2024.




                               MARK T. PITTMAN
                               UNITED STATES DISTRICT JUDGE
